    Case 16-00201   Doc 44-4   Filed 06/30/17   Page 1 of 9




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               EXHIBIT!A!
Case 16-00201   Doc 44-4   Filed 06/30/17   Page 2 of 9
Case 16-00201   Doc 44-4   Filed 06/30/17   Page 3 of 9
Case 16-00201   Doc 44-4    Filed 06/30/17   Page 4 of 9
                Exhibit A
4/3/2017                          Case   16-00201 Doc 44-4 Filed 06/30/17 Page 5 of 9
                                     https://www.sec.gov/Archives/edgar/data/730464/000114420416121173/v446933_ex21.htm

  EX­21 2 v446933_ex21.htm EXHIBIT 21

                                                                                                                              EXHIBIT 21

                                                                                                                          Jurisdiction of
                                             Subsidiary Name                                                              Incorporation
  DeVry Education Group Inc.
    Subsidiaries:                            DeVry University, Inc.(10)                                                   Illinois
                                             DeVry/New York, Inc.                                                         Delaware
                                             DeVry Medical International, Inc.                                            New York
                                                 Dominica Services Inc.(1)                                                Delaware
                                                 Ross University Services, Inc.(1)                                        Delaware
                                                      International Education Holdings, Inc.(2)(10)                       Delaware
                                             Becker Professional Development Corporation                                  Delaware
                                             DeVry/Becker Educational Development Corp.                                   Delaware
                                                 Newton Becker Limited(3)                                                 Hong Kong
                                                 Becker CPA Review Limited(3)                                             Israel
                                                 Cardinal Acquisition Merger Sub, Inc. (3)                                Delaware
                                             Chamberlain College of Nursing and Health Sciences, Inc.                     Delaware
                                                 Chamberlain College of Nursing LLC(4)                                    Delaware
                                             Advanced Academics Inc.                                                      Delaware
                                             U.S. Education Corporation (d/b/a: Carrington Colleges Group, Inc.)(10)      Delaware
                                             Integrated Education Solutions LLC                                           Delaware
                                             AUC School of Medicine B.V.                                                  St. Maarten

  DeVry University, Inc.
    Subsidiaries:                            DeVry Educational Development Corp.                                          Delaware
                                                DeVry Canada LLC                                                          Delaware

  International Education
  Holdings, Inc.
     Subsidiaries:                           Global Education International, Inc.                                         Barbados
                                                Ross University Management, Inc.(5)                                       St. Lucia
                                                     Ross University School of Medicine, School of Veterinary             Dominica
                                                     Medicine Limited(6)
                                                     Ross University School of Medicine School of Veterinary              St. Kitts
                                                     Medicine (St. Kitts) Limited(6)
                                                     DeVry Medical International (Bahamas) Ltd.(6)                        Bahamas
                                             Global Education International B.V.                                          The Netherlands
                                                DeVry Educacional do Brasil S/A (7)(8)                                    Brazil
                                                     Centro Baiano de Ensino Superior Ltda(9)                             Brazil
                                                     Academia Baiana de Ensino, Pesquisa e Extensão Ltda.(9)              Brazil
                                                     Faculdade Boa Viagem S/A(9)                                          Brazil
                                                     Sociedade de Educacão do Vale do Ipojuca(9)                          Brazil
                                                     Sociedade Educacional da Paraiba Ltda(9)                             Brazil
                                                     Integral ­ Grupo de Ensino Superior do Piaui S/C Ltd. (9)            Brazil
                                                     Instituto de Ensino Superior da Amazonia Ltda(9)                     Brazil
                                                     Sociedade Educacional Ideal Ltda. (9)                                Brazil
                                                     Damasio Educacional S/A(9)                                           Brazil
                                                     Grupo Ibmec Educacional S.A. (9)                                     Brazil
                                                     A. Região Tocantina de Educaçao e Cultura Ltda. (9)                  Brazil
                                                Becker Professional Development International Limited(7)                  United Kingdom
                                                     Accountancy Tuition Centre (Hungary) Limited(11)                     United Kingdom
                                                Neev Knowledge Management Private Limited (12)                            India
                                                     Edupristine Inc.(13)                                                 Delaware
https://www.sec.gov/Archives/edgar/data/730464/000114420416121173/v446933_ex21.htm                                                          1/3
4/3/2017                          Case   16-00201 Doc 44-4 Filed 06/30/17 Page 6 of 9
                                     https://www.sec.gov/Archives/edgar/data/730464/000114420416121173/v446933_ex21.htm




https://www.sec.gov/Archives/edgar/data/730464/000114420416121173/v446933_ex21.htm                                        2/3
4/3/2017                          Case   16-00201 Doc 44-4 Filed 06/30/17 Page 7 of 9
                                     https://www.sec.gov/Archives/edgar/data/730464/000114420416121173/v446933_ex21.htm




  U.S. Education
  Corporation (d/b/a
  Carrington Colleges
  Group, Inc.)
    Subsidiaries:               American Institute of Health Technology, Inc.                                             Idaho
                                EdCOA Inc. (d/b/a: Carrington College California)                                         California
                                Carrington College, Inc.                                                                  Arizona

  (1)    Subsidiary of DeVry Medical International, Inc.
  (2)    1% owned by DeVry Inc. and 99% owned by Ross University Services, Inc.
  (3)    Subsidiary of DeVry/Becker Educational Development Corp.
  (4)    Subsidiary of Chamberlain College of Nursing and Health Sciences, Inc.
  (5)    Subsidiary of Global Education International, Inc., a Barbados company
  (6)    Subsidiary of Ross University Management, Inc., a St. Lucia company
  (7)    Subsidiary of Global Education International B.V., a Netherlands company
  (8)    97.909% owned by Global Education International B.V.
  (9)    Subsidiary of DeVry Educacional do Brasil S/A
  (10)   Subsidiaries of DeVry University, Inc., International Education Holdings, Inc. and U.S. Education Corporation are listed below.
  (11)   Subsidiary of Becker Professional Development International Limited
  (12)   33.32% owned by Global Education International B.V.
  (13)   Subsidiary of Neev Knowledge Management Private Limited




https://www.sec.gov/Archives/edgar/data/730464/000114420416121173/v446933_ex21.htm                                                         3/3
                          Case 16-00201            Doc 44-4          Filed 06/30/17            Page 8 myMERP
                                                                                                      of 9
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                                         MERP IN CANADA                     CONTACT US
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Why MERP?

Participation in MERP         Medical School Affiliations
MERP Student                  The Medical Education Readiness Program (MERP) is a 15-week program offered by DeVry
Testimonials                  Medical International. The program’s dual mission is to provide students from diverse
                              backgrounds with additional academic preparation to foster their success in medical school,
Program Fees                  and to help determine the readiness of these students to meet the demands of a fast-paced
                              and rigorous medical school curriculum.
MERP Graduate
Profiles: Where Are           At present, MERP is limited exclusively to students who have been conditionally accepted by
They Now?                     Ross University School of Medicine (RUSM) or American University of the Caribbean School of
                              Medicine (AUC). Each of these medical schools has a linkage with MERP that allows students
MERP Refund Policy
                              who complete the MERP program successfully to matriculate to the medical school that has
                              granted them conditional acceptance.
Medical School
Affiliations
                              MERP operates under the auspices of DeVry Medical International, a subsidiary of DeVry
                              Education Group, one of the world’s largest providers of education services. MERP operates
Calendar
                              independently of any medical school, with its own administration, instructors and staff.

Frequently Asked
Questions
                              The purpose of the Medical Education Readiness Program is to prepare prospective students to be successful as a
                              medical student. Students accepted into this program are not being admitted into medical school, and will not be
MERP Locations
                              awarded any kind of degree or credential other than a certificate of completion. However, we believe that students who
                              successfully complete the program will be prepared for the challenge of medical school.




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Case 16-00201   Doc 44-4   Filed 06/30/17   Page 9 of 9
